Case 3:90-cr-00084-HES-JK Document 288 Filed 06/23/05 Page 1 of 2 PageID 168



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

        VS.                                               Case No. 3:90-cr-84-J-12

TERRENCE PlTTS



                                          ORDER

        This cause is before the Court on the Defendant's "Request for Relief Pursuant to

 Rule 35(a) and 12(b)(2) of F.R.Cr.P." (Doc.283), filed April 11, 2005. The Government's

 motion to dismiss (Doc.286) was filed on May 16, 2005. The Defendant filed a response

(Doc.287) to the Government's motion to dismiss on May 24, 2005.

        The Defendant asserts that this Court lacked jurisdiction to enhance his sentence

 based upon his prior convictions because the Government did not file the required notice

 pursuant to 21 U.S.C. § 851. The Defendant seeks re-sentencing without enhancement.

        The Defendant's motion is properly brought pursuant to 28 U.S.C. § 2255, because

 it is a collateral challenge asserting that the Court "was without jurisdiction to impose such

 sentence." The Court will therefore construe the Defendant's request for relief (Doc.283)

 as a § 2255 motion.

        As a result, the Court must deny the Defendant's § 2255 motion without prejudice.

 The Court is without jurisdiction to consider it inasmuch as it is a successive motion' filed




        1
               This is the Defendant's fourth § 2255 motion. See Docket and Order, Doc.
 261.
  Case 3:90-cr-00084-HES-JK Document 288 Filed 06/23/05 Page 2 of 2 PageID 169



without first obtaining permission from the Eleventh Circuit Court of Appeal. Accordingly,

it is

        ORDERED AND ADJUDGED:

        1.    That the Government's motion to dismiss (Doc.286) is granted;

        2.    That the Defendant's "Request for Relief Pursuant to Rule 35(a) and 12(b)(2)

of F.R.Cr.P." (Doc.283) is construed as a subsequent § 2255 motion and the Clerk is

directed to open it as a civil case; and

        3.    That the Defendant's fourth Ej 2255 motion (Doc.283) is denied without

prejudice for failure to obtain permission from the Eleventh Circuit Court of Appeals, the

civil case is dismissed, and the Clerk is directed to close the civil case.

        DONE AND ORDERED this          1 ~ R C ! day of June 2005.

                                                                 w. ?n G
                                            SENIOR UNITED STATES DISTRICT JUDGE

Copies to:
      AUSA (Henry)
      Defendant
